USDC IN/ND case 2:23-cv-00165-PPS-JPK document 16 filed 09/01/23 page 1 of 3


                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

 ROBERT HAUG and ANITA HAUG,                 )
                                             )
        Plaintiffs,                          )
                                             )
              v.                             )     Cause No. 2:23-CV-165-PPS-JPK
                                             )
 COUNTY OF STARKE,                           )
                                             )
        Defendant.                           )

                                         ORDER

      This matter is before the Court on a Motion for Sanctions and Attorney’s Fees

pursuant to Rule 11 of the Federal Rules of Civil Procedure [DE 11], filed by the

defendant, Starke County. On May 16, 2023, Plaintiffs Robert and Anita Haug filed this

action, claiming that the County converted a portion of their property abutting Koontz

Lake into a public beach, in violation of the Fifth Amendment to the U.S. Constitution

and provisions of the Indiana Constitution. [DE 1.] The County answered the complaint

and discovery is currently set to run through next spring.

      The County evidently believes the case is utter nonsense. But instead of filing a

motion for judgment on the pleadings or for summary judgment, it’s taken a different

tack. It seeks sanctions and attorney’s fees because, according to the County, the

complaint “contains[] factual contentions that are known to be materially false.” [DE 11

at 1.] To support this broadside attack the County has supplied a deed for the plats

underlying Plaintiffs’ property, a land survey prepared in 2022, and affidavits. [DE 11-1;

DE 11-2; DE 11-3; DE 11-4; DE 11-5.] It tells me that these materials show, beyond
USDC IN/ND case 2:23-cv-00165-PPS-JPK document 16 filed 09/01/23 page 2 of 3


dispute, that Plaintiffs “have no ownership and no recognizable legal interest in any area

beyond their property line, which has not touched Koontz Lake since at least 1924,” and

accordingly their taking claim is inevitably doomed to fail. [DE 11 at 2.]

       The Haugs filed a response to the motion [DE 12], which the County notes was

filed four days late [DE 14 at 2]. Notwithstanding the tardy filing, I will consider it and

decline to rule summarily on the County’s motion. See N.D. Ind. L.R. 7-1(d)(5).

       Plaintiffs correctly respond that the motion is really a premature request for

summary judgment. [See DE 12 at 2.] In essence, the County is contesting the veracity of

their well pled allegations with evidence extrinsic to the pleadings, and seeks a sanction

based on the ‘meritless’ nature of the claims, without separately moving to dismiss the

claims. Plaintiffs, for their part, point me to other evidence in tension with the County’s

position – namely, property cards homeowners received from the County,

correspondence with opposing counsel, and an affidavit from Ms. Haug. [DE 12-1;

DE 12-2; DE 12-3; DE 12-4; DE 12-5; DE 12-6.] They also request attorney’s fees incurred

in responding to the County’s motion [DE 12 at 9–11], arguing that the filing is frivolous.

       The County’s request is an odd one, procedurally speaking. Typically, a party

moves to dismiss claims, then seeks sanctions and attorney’s fees incurred in connection

with defending any claims that were frivolously filed. Here, the County answered the

complaint. Two months later (and purportedly without seeking judgment on the merits

of the claims), it asks me to sanction Plaintiffs because their factual allegations are

“materially” false. The County specifically notes in its reply that it has “not ask[ed] for


                                              2
USDC IN/ND case 2:23-cv-00165-PPS-JPK document 16 filed 09/01/23 page 3 of 3


dismissal” or for me to “decide the case as a whole,” yet asserts that Plaintiffs have

engaged in sanctionable conduct because their claims are objectively meritless. [DE 14 at

3.]

       Based on the limited evidentiary record before me, and noting the parties have

yet to engage in meaningful discovery on the facts alleged in Plaintiffs’ complaint, I am

not at all persuaded that sanctions are warranted under Rule 11(b) and (c) – at least not

yet. The sanctions motion will be denied, without costs to any party. Plaintiffs’ request

for attorney’s fees, which the Court construes as a cross-motion for sanctions, will also

be denied, without costs to any party. To the extent the County believes the cited

evidence warrants dismissal of Plaintiffs’ claims, it may file a motion for judgment on

the pleadings or a motion for summary judgment fully compliant with this Court’s Local

Rules. If the County prevails and believes that sanctions and fees are justified, it can file

a request for them at that time. But for now, the motion is premature.

              ACCORDINGLY:

       Defendant County of Starke’s Motion for Sanctions and Attorney’s Fees Under

Fed. R. Civ. P. 11 [DE 11] is DENIED.

       SO ORDERED.

       ENTERED: September 1, 2023.

                                           /s/ Philip P. Simon
                                           PHILIP P. SIMON, JUDGE
                                           UNITED STATES DISTRICT COURT




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